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                        UNITED STATES BANKRUPTCY COURT
                         SOUTHERN DISTRICT OF FLORIDA
                           FORT LAUDERDALE DIVISION
                                www.flsb.uscourts.gov


In re:                                                              Chapter 11 Cases

LIBERTY POWER HOLDINGS, LLC,                                        Case No. 21-13797-SMG
LPT, LLC,                                                           Case No. 21-15537-SMG
LIBERTY POWER MARYLAND, LLC,                                        Case No. 21-15539-SMG
LIBERTY POWER DISTRICT OF
      COLUMBIA, LLC,                                                Case No. 21-15540-SMG

      Debtors.                                      (Jointly administered 21-13797-SMG)
__________________________________/

 DEBTORS’ REPLY TO OBJECTION OF COMMONWEALTH EDISON COMPANY
 TO DEBTORS’ EXPEDITED MOTION TO COMPEL COMMONWEALTH EDISON
  COMPANY TO COMPLY WITH SALE ORDER [ECF NO. 385] AND FACILITATE
 TRANSFER OF DEBTORS’ LOW-INCOME CUSTOMER CONTRACTS TO BUYER
              AND THE DEBTORS’ SUPPLEMENT THERETO

                         (Hearing Set for May 18, 2022 at 2:30 p.m.)

         Liberty Power Holdings, LLC (“Holdings”), Liberty Power District of Columbia, LLC

(“Liberty District of Columbia”), LPT, LLC (“LPT”) and Liberty Power Maryland, LLC (“Liberty

Maryland”)(collectively, the “Debtors”), by and through their undersigned counsel, hereby submit

this Reply (the “Reply”) to the Objection [ECF No. 666] of Commonwealth Edison Company

(“ComEd”) (the “Response”) to the Debtors’ Expedited Motion To Compel Commonwealth Edison

Company To Comply With Sale Order [ECF No. 385] and Facilitate Transfer Of Debtors’ Low-

Income Customer Contracts To Buyer [ECF No. 630] and the Debtors’ Supplement thereto [ECF

No. 651] (collectively, the “Motion to Compel”). The Motion to Compel seeks entry of an order

compelling ComEd to comply with this Court’s Order (I) Approving Sale Of The Purchased Assets

Free And Clear Of Liens, Claims, Encumbrances, And Other Interests, (II) Authorizing

Assumption And Assignment Of Certain Executory Contracts And Unexpired Leases In




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Connection Therewith And (III) Granting Related Relief [ECF No. 385] (the “Sale Order”) and to

facilitate the transfer of approximately 994 residential low-income customer contracts enrolled by

the Debtors in the State of Illinois (collectively, the “Customer Contracts”)1 to Direct Energy (as

defined below) pursuant to the Sale Order. In support of this Reply, the Debtors respectfully state

as follows:

                                 PRELIMINARY STATEMENT

       ComEd advances two principal arguments in its Response as to why the Court should deny

the Debtors’ Motion to Compel, namely because (i) Illinois law prevents ComEd from transferring

the Debtors’ low income customers in Illinois to Direct Energy Services, LLC (“Direct Energy”)

(the Illinois affiliate of NRG Retail, LLC (“NRG”)) because Direct Energy is not a registered

participant in the Savings Guarantee Program (as defined in the Response) in Illinois, and (ii)

ComEd was never properly served with any of the Sale Pleadings. As outlined below, ComEd’s

arguments fail for several reasons and therefore the Court should overrule ComEd’s objection and

grant the Motion to Compel.

       First, it is important to note that ComEd takes no position in the Response on the Sale Order

or any of the Sale Pleadings and, in fact, does not even address or challenge any of the applicable

provisions of the Sale Order discussed in the Motion to Compel. Rather, ComEd relies entirely

on its argument regarding lack of notice. ComEd’s “notice” analysis in the Response, however,

misses the mark. ComEd argues that the Debtors were required to serve the Sale Pleadings



1
 A schedule of the low-income Customer Contracts by contract number is attached to the Motion to Compel
as Exhibit “A”. In the Motion to Compel, the Debtors were seeking to transfer 1,015 low income Customer
Contracts based on information provided by ComEd. Since filing the Motion to Compel, ComEd has
advised that 21 of such Customer Contracts are not low income and so the Debtors are removing those 21
from the Motion to Compel, leaving 994. Of the 21 Customer Contracts, 10 of them are being transferred
to Direct Energy and the remaining 11 have been blocked by the customer and are in the process of being
returned to standard service.




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pursuant to Bankruptcy Rules 6004(c), 9014 and 7004(b)(3). However, such Bankruptcy Rules

do not apply because Rule 6004(c) only applies to secured creditors, which ComEd is not, Rule

9014 only applies if Rule 6004(c) applies, which it does not, and Rule 7004 only applies in an

adversary proceeding, which does not exist. Rather, as discussed below, the applicable Bankruptcy

Rules are Rules 2002(a)(2), 2002(c)(1) and 6004(a). When the Debtors served the Renewed Sale

Notice on ComEd on August 25th and 26th, 2021 at its P.O. Box mailing address (which ComEd

does not dispute) [ECF Nos. 323, 650, 654], the Debtors complied with and satisfied Bankruptcy

Rules 2002(a)(2), 2002(c)(1) and 6004(a). As a result, ComEd received proper, adequate, timely

and sufficient notice of the proposed sale of the Debtors’ Customer Contracts to Direct Energy,

and therefore is bound by the Sale Order.

       Second, ComEd asserts that Illinois law prevents the Debtors from transferring the Illinois

Customer Contracts to Direct Energy unless and until Direct Energy becomes a “registered

participant in the Savings Guarantee Program.”            However, as outlined below, ComEd’s

interpretation of Illinois law is not only inconsistent with the plain language of the applicable state

statutes and regulations, but it also defies logic and common sense. Moreover, as discussed below,

ComEd’s reliance on Section 365(c) of the Bankruptcy Code and 28 U.S.C. §959(b) is misplaced

as such provisions simply do not apply to the present situation.

      A.      ComEd received proper, adequate, timely and sufficient notice of the Sale
Order, and is bound by its terms.

       1.      As discussed above, ComEd argues that it did not receive “actual” notice of the

Sale Pleadings or the Sale Order until after the sale closed, and therefore it is not bound by the

Sale Order. See Response at ¶51. In connection therewith, ComEd asserts that the Debtors were

required to serve the Sale Pleadings on ComEd pursuant to Bankruptcy Rules 6004(c), 9014 and

7004(b)(3), and that such service was required to be made on “an officer, a managing or general




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agent, or to any other agent authorized by appointment or by law to received service of process”

of ComEd. See Response at ¶50.

        2.      However, the Bankruptcy Rules cited by ComEd in support of its notice argument

simply do not apply to the present situation. Specifically, Bankruptcy Rule 6004(c) only applies

to service of sale pleadings on parties with liens or other interests in the property proposed to be

sold, i.e. secured creditors, when such sale is to be free and clear of such creditors’ liens or other

interests in the property being sold. To be clear, ComEd is not a secured creditor in these Chapter

11 cases, does not have any lien on, or other interest in, the Debtors’ Customer Contracts that were

sold to NRG, and has not asserted any such rights in these Chapter 11 cases. As a result, because

Bankruptcy Rule 6004(c) does not apply to ComEd, then by its express terms, Bankruptcy Rule

9014 also does not apply to ComEd. In addition, Bankruptcy Rule 7004(b)(3) only applies to the

service of a summons in an adversary proceeding. While the Court recently directed the Debtors

to serve the Motion to Compel on ComEd pursuant to Rule 7004, such service was not required

for any of the Sale Pleadings, and clearly no adversary proceeding has been filed against ComEd.

        3.      Contrary to ComEd’s notice arguments, Bankruptcy Rule 6004(a) makes clear that

“notice” of the sale of property shall be made pursuant to Bankruptcy Rules 2002(a)(2) and (c)(1).

Bankruptcy Rule 2002(a)(2) makes clear that “notice” of any proposed sale shall be “by mail” and

Bankruptcy Rule 2002(c)(1) provides that any such “notice” shall “include the time and place of

any public sale, the terms and conditions of any private sale and the time fixed for filing

objections.” When the Debtors served the Renewed Sale Notice on ComEd on August 25th and

26th, 2021 at its P.O. Box mailing address (which address ComEd does not dispute)2 [ECF Nos.


2
 ComEd admits that the P.O. Box address is a general mailing address at which ComEd receives numerous
mailings per day. As a result, based on the Supplemental Certificate of Service filed by Stretto [ECF No.
650], Stretto mailed the Renewed Sale Notice and the Order Continuing Sale Hearing on ComEd at such
P.O. Box address and therefore ComEd is presumed to have received the Renewed Sale Notice and the




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323, 650, 654], the Debtors satisfied Bankruptcy Rules 2002(a)(2), 2002(c)(1) and 6004(a). In

serving the Renewed Sale Notice, the Debtors also complied with Local Rule 2002-1(H)(3) for

chapter 11 cases with more than 75 creditors. The Renewed Sale Notice clearly delineates the sale

pleadings that were filed, the proposed sale of substantially all of the Debtors’ assets, the bid

deadline for such sale (August 30, 2021 at 2:00 p.m.), the auction date for such sale (September 1,

2021 at 9:00 a.m.), and the date of the sale hearing (September 10, 2021 at 1:30 p.m.). Moreover,

the Renewed Sale Notice made specific reference to all of the other related sale pleadings and

encouraged all parties in interest to review such documents, including providing information as to

how any such party in interest could obtain such pleadings. Importantly, the Court also entered its

Order Continuing Sale Hearing [ECF No. 320], which was also properly served on ComEd on

August 25th and 26th, 2021 [ECF No. 650]. The Order Continuing Sale Hearing specifically

contained the respective deadlines (ie. September 7, 2021 at 5:00 p.m.) for any party in interest to

object to the proposed sale and/or to object to the assumption and assignment of any of the Debtors’

Customer Contracts to NRG and its affiliate, Direct Energy.

        4.      As a result of the above, ComEd received proper, adequate, timely and sufficient

notice of the proposed sale of the Debtors’ Customer Contracts. Therefore, ComEd is bound by

the terms of the Sale Order. Because ComEd has not contested (or even addressed) the provisions

of the Sale Order, the Debtors request that the Court enforce such provisions to compel ComEd to

facilitate the transfer of the Debtors’ low income Customer Contacts in Illinois to Direct Energy,

as the assignee of NRG Retail.


Order Continuing Sale Hearing. See In re TFLO, LLC, 572 B.R. 391, 431-433 (Bankr. S.D. Fla. 2016)
(citing, Konst v. Fla E. Coast Ry. Co., 71 F.3d 850, 851 (11th Cir. 1996) (“presumption of receipt arises
upon proof that the item was properly addressed, had sufficient postage, and was deposited in the mail”))).
Whether ComEd receives numerous daily mailings to that P.O. Box or only a few is not relevant to the fact
that ComEd received such notice Id. at 432; See also, Anderson v. Branch Banking & Trust Co., 119
F.Supp.3d 1328, 1341 (S.D. Fla. 2015) (mere denial of receipt is insufficient to rebut presumption).




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      B.      ComEd’s reliance on Section 365(c) of the Bankruptcy Code and 28 U.S.C.
§959(b) is misplaced.

       5.      Section 365(c) of the Bankruptcy Code provides:

               The Trustee may not assume or assign any executory contract or unexpired lease
               of the debtor, whether or not such contract or lease prohibits or restricts
               assignment of rights or delegation of duties, if –

                       (1)(A) applicable law excuses a party, other than the debtor, to such
                       contract or lease from accepting performance from or rendering
                       performance to an entity other than the debtor or the debtor in possession,
                       whether or not such contract or lease prohibits or restricts assignment of
                       rights or delegation of duties; and

                       (B) such party does not consent to such assumption or assignment;….

(emphasis added). Importantly, ComEd is not a party to any of the Debtors’ Customer Contracts.

As a result, the Debtors submit that this Court does not need to go beyond the plain language of

Section 365(c) itself to determine that Section 365(c) simply does not apply in these Chapter 11

cases vis a vis ComEd.

       6.      28 USC § 959(b) states:

                Except as provided in section 1166 of title 11, a trustee, receiver or manager
               appointed in any cause pending in any court of the United States, including a debtor
               in possession, shall manage and operate the property in his possession as such
               trustee, receiver or manager according to the requirements of the valid laws of the
               State in which such property is situated, in the same manner that the owner or
               possessor thereof would be bound to do if in possession thereof.

(emphasis added). In the instant case, the Debtors are not operating, but merely maintaining status

quo until such assets can be fully liquidated and transferred to Direct Energy (a process that ComEd

is thwarting). In fact, as a direct result of ComEd’s refusal to comply with the Sale Order, Illinois

state law requires that the Debtors’ must continue to provide services to its customers until there

is a new supplier in place. The Debtors have continued to provide such services.




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       7.      The majority of courts hold that a trustee’s obligation to comply with state laws

under Section 959(b) applies only when the trustee continues to operate the debtor’s business. In

re Globe Bldg. Materials, 345 B.R. 619, 637 (Bankr. N.D. Ind. 2006). The Eleventh Circuit has

noted, quoting Vass v. Conron Bros. Co., 59 F.2d 969, 971 (2d Cir.1932), that to ‘merely to hold

matters in the status quo; to mark time, as it were; to do only what is necessary to hold the assets

intact; such activities are not a continuance of the business.” In re N.P. Mining Co., 963 F.2d

1449, 1460 (11th Cir. 1992). In N.P. Mining, the trustee liquidated the debtors’ assets, but was

required to engage in coal brokering to keep an asset (an executory contract) alive after the debtor’s

mining operations had ceased and that such brokering was to maintain the status quo and protect

an asset of the estate. Id. at 1461.

       8.      Further, Courts have held that state or local laws are preempted where compliance

with those laws would frustrate a liquidation. See e.g., In re Baker & Drake, Inc., 35 F.3d 1348,

1353–54 (9th Cir. 1994); In re Ray, 355 B.R. 253, 257–58 (Bankr. D. Ore. 2006); In re Shenango

Group, Inc., 186 B.R. 623, 628 (Bankr.W.D.Pa.1995).            Pursuant to Section 365(a) of the

Bankruptcy Code, a debtor can maximize the value of its estate by accepting contracts that are

beneficial to it and rejecting those that are not. In re Dial-A-Mattress Operating Corp., et al, 2009

WL 1851059 (Bankr. E.D. NY 2009), citing In re Bethlehem Steel Corp., 291 B.R. 260, 264

(Bankr.S.D.N.Y.2003). The Debtors submit that the HEAT Act cannot impair their rights under

Section 365. See, In re City of Vallejo, 403 B.R. 72, 77 (Bankr.E.D.Cal.2009) (“Congress enacted

section 365 to provide debtors the authority to reject contracts ... [t]his authority preempts state

law by virtue of the Bankruptcy Clause [and] the Supremacy Clause.”); In re Tom Stimus Chrysler–

Plymouth, Inc., 134 B.R. 676, 679 (Bankr.M.D.Fla.1991) (Holding that Section 365 of the




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Bankruptcy Code governs the assumption or rejection of a contract, even if the agreement

otherwise would have been terminated under Florida dealer laws).

       9.      In the instant case, there should be no dispute that ComEd is frustrating the

liquidation process and that the Debtors are maintaining the status quo until such time as ComEd

accepts the Customer Contracts which are the subject of the Motion to Compel.

       10.     Moreover and importantly, even if Section 959(b) applied to the present situation,

as discussed below, the Debtors are, in fact, in compliance with Illinois state law not only in respect

of the service provided by the Debtors under the applicable Customer Contracts, but also in their

attempt to transfer such Customer Contracts to Direct Energy pursuant to this Court’s Sale Order,

which ComEd had notice of, did not object to and is bound by.

      C.       The plain reading of the applicable provisions of Illinois state law do not
prohibit the transfer of the Debtors’ low income Customer Contracts.

       11.     In the Response, ComEd asserts that its interpretation of the HEAT Act and related

regulations prohibits ComEd from accepting and processing a transfer of the Debtors’ low income

Customer Contracts to Direct Energy because Direct Energy is not a registered participant in the

Savings Guarantee Program in Illinois. At the outset, ComEd also points out, correctly, that the

Debtors are not registered participants in the Savings Guarantee Program in Illinois. The Debtors

apologize to the Court and to ComEd for the mis-statement in paragraph 17 of the Motion to

Compel. However, to be clear and as discussed below, the fact that the Debtors are not and were

not registered participants in the Savings Guarantee Program exposes the fallacy in ComEd’s

arguments because it is inconsistent at best to allow the Debtors to continue servicing the Customer

Contracts and not allow Direct Energy to service the very same Customer Contacts when both of

them are not registered participants.




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       12.     The majority of the Debtors’ low income Customer Contracts at issue in the Motion

to Compel (approximately 80%) were entered into and enrolled by the Debtors prior to the

effective date of the HEAT Act, which was January 1, 2020. As a result, such Customer Contracts

– even if the customers thereunder are receiving public energy assistance funds – simply were not

and are not subject to the provisions of the HEAT Act. Moreover, the Debtors were not prohibited

from entering into and enrolling such customers even though the Debtors were not registered

participants in the Savings Guarantee Program.

       13.     The balance of the Debtors’ low income Customer Contracts at issue in the Motion

to Compel (approximately 20%) were entered into after the effective date of the HEAT Act. The

Debtors assert that they properly enrolled such customers and, importantly, ComEd processed such

enrollments without any reference to whether those customers were “low income” and therefore

could not be enrolled based on the Debtors not being a registered participant in the Savings

Guarantee Program. To be clear, the Debtors would not know if such customers were “low

income” and received financial assistance, and needed to rely on ComEd to advise them

accordingly. The Debtors did not learn from ComEd that these customers – despite being properly

enrolled post-effective date - were or became “low income” customers until December 2021 when

the Debtors proposed to transfer them to Direct Energy. As a result, the Debtors assert that these

Customer Contracts did not violate the HEAT Act when originally enrolled and as such should be

treated the same as the proposed transfer of Customer Contracts that were enrolled prior to the

effective date of the HEAT Act.

       14.     As a result, the main issue before the Court in connection with the Motion to

Compel is whether the HEAT Act applies to prevent the “transfer” of the Debtors’ Customer

Contracts. In the Debtors’ Supplement, the Debtors cite to the applicable provision of the HEAT




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Act that makes clear that a retail electric supplier (an “RES”) “shall not knowingly submit an

enrollment to change a customer’s electric supplier if” the customer at issue either received

financial assistance within the past 12 months or is currently receiving financial assistance. See

Supplement at ¶3. The Debtors also focused the Court on the language of subsection (c) of Section

16-115E of the HEAT Act which makes clear that only an “agreement entered into between an

[RES] and a customer in violation of this Section is void and unenforceable.” Id. By its plain

language, the HEAT Act does not prevent a “transfer” of an already existing Customer Contract,

but rather only prohibits an “enrollment” of a customer. It is axiomatic that a “transfer” is not the

same thing as an “enrollment.”       In support thereof, the Debtors referred the Court in the

Supplement to a definition of the term “enrollment,” which definition makes clear that an

“enrollment” occurs only when (i) a customer first makes contact with a retail electric supplier and

then enters into a contract with that supplier, and (ii) the supplier submits a direct access request

to the utility to effect the customer’s contract. This sequence of events does not apply to a

“transfer” of an existing Customer Contract between one RES and another RES.

       15.     Importantly, in the Response, ComEd does not reference any of the above

provisions of the HEAT Act and does not challenge or refute the Debtors’ arguments in connection

therewith. Specifically, ComEd does not attempt to explain why a “transfer” is the same as an

“enrollment” under the HEAT Act. ComEd’s failure to do so speaks volumes, especially when

these provisions are the crux of the HEAT Act provisions.

       16.     Moreover, common sense supports the Debtors’ interpretation of these provisions.

Specifically, ComEd does not assert that the Debtors are prohibited from continuing to service the

low income Customer Contracts subject of the Motion to Compel – even though the Debtors are

not registered participants in the Savings Guarantee Program. ComEd also does not assert that the




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Debtors’ low income Customer Contracts are void and unenforceable because they violate the

provisions of the HEAT Act. In fact, ComEd has no objection to the Debtors continuing to service

the low income customers under the applicable Customer Contracts. Importantly, the proposed

transfer of the Debtors’ low income Customer Contracts from the Debtors to Direct Energy has no

effect whatsoever on the Debtors’ customers or the terms of the Debtors’ Customer Contracts.

Rather, the terms of such Customer Contacts will remain exactly the same, with the only difference

being that Direct Energy will be the electric provider in place of the Debtors. ComEd offers no

explanation as to why the Debtors can continue to provide service under such terms and Direct

Energy cannot do so (especially when both the Debtors and Direct Energy are not registered

participants in the Savings Guarantee Program). ComEd also does not explain how the policy

behind the HEAT Act (which is described by ComEd in the Response) is violated by the proposed

transfer of the Customer Contacts to Direct Energy when the same terms and conditions of such

Customer Contracts will remain in place.

       17.     In its Response, ComEd refers to certain regulations dealing with an assignment of

customer contracts, namely 83 Ill. Adm, Code Section 412.250, and asserts that the Debtors cannot

assign any contracts unless the provisions of such section are satisfied. See Response at ¶22. The

Debtors assert that such provisions are in fact satisfied by the proposed transfer of the Debtors’

low income Customer Contracts to Direct Energy. Importantly, ComEd’s sole argument on this

provision is that Direct Energy is not in compliance with the applicable provisions of the

Commission because it is not a registered participant in the Savings Guarantee Program.3

ComEd’s argument, however, misses the mark because it builds on an incorrect interpretation of

the HEAT Act outlined above. To be clear and as outlined above, the Debtors do not need to be a


3
 There is no suggestion whatsoever by ComEd that Direct Energy is not otherwise in full compliance with
all of the applicable requirements in Illinois to act as an RES.




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registered participant in the Savings Guarantee Program to provide service under the low income

Customer Contracts, and therefore Direct Energy should not need to be a registered participant in

the Savings Guarantee Program to provide the same service under the same terms as the Debtors.

Moreover, ComEd does not assert that the applicable Customer Contracts are void or

unenforceable under the HEAT Act in the hands of the Debtors and therefore should not be able

to assert otherwise in the hands of Direct Energy.

       18.     ComEd also makes reference in its Response to the “ComEd Tariff” and asserts

that ComEd must “reject a DASR [Direct Access Service Request] for each retail customer for

which an RES seeks to provide electric power” if such customer either received financial assistance

within the past 12 months or is currently receiving financial assistance.     See Response at ¶44.

ComEd’s argument here is misplaced because ComEd fails to include the definition of a “DASR”

under the ComEd Tariff, which definition makes clear that the ComEd Tariff does not apply to the

facts of the present case, where the Debtors propose to transfer their low income Customer

Contracts to Direct Energy. Specifically, the ComEd Tariff defines a “DASR” as “an electronic

communication by which the Company [ComEd] is informed of a retail customers’ election to

switch its provider of electric power and energy supply service or its provider of metering service.”

See Exhibit A attached hereto (emphasis added). Based on the above, the ComEd Tariff requires

that ComEd reject a DASR only in a situation where an election is made by the retail customer –

as opposed to an RES – to switch providers. In the present case, none of the Debtors’ retail

customers are making an election to switch providers. Therefore, the ComEd Tariff and ComEd’s

reliance thereon does not apply to the present situation.

                                            Conclusion

       WHEREFORE, the Debtors respectfully request entry of an Order: (i) compelling ComEd




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to comply with the Sale Order and facilitate the transfer of the Customer Contracts set forth on

Exhibit “A” to the Motion to Compel (as modified herein) to Direct Energy in accordance with

the Sale Order; and (ii) granting such other relief as is just and proper.

Dated: May 17, 2022

                                               Respectfully Submitted,

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                      EXHIBIT A

 EXCERPT OF DEFINITIONS UNDER THE COMED TARIFF




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